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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 2017 MAR 27 PM {: 24
WESTERN DIVISION

 

UNITED STATES OF AMERICA, )
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Plaintiff, ) Cr. No.:
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vs. )- 21u.8.6.§33ta-2 *°/7-A ZoloY/
) 21 U.S.C. § 333(a)(1)
P&R PACKING LLC., and ) 21 U.S.C. § 333(a)(2)-F¢
JASON PRADO, ) 21 U.S.C. § 334
) 21 U.S.C. § 853(p)
Defendants. ) 28 U.S.C. § 2461(c)

INFORMATION

THE UNITED STATES ATTORNEY CHARGES:
INTRODUCTION

1; The United States Food and Drug Administration (hereinafter “the FDA”) is the
federal agency within the United States Department of Health and Human Services
(hereinafter “HHS”) charged with the responsibility for protecting the health and safety of
the American public by enforcing the provisions of the Federal Food, Drug, and Cosmetic
Act, 21 U.S.C. § 301-399f, (hereinafter “FDCA"”).
2. Under the FDCA, a “drug” includes an article (other than food) intended to affect
the structure or any function of the body of man or other animals. 21 U.S.C.
§ 321(g)(1)(C).
3. Under the FDCA, a drug is deemed to be misbranded if its labeling is false or
misleading in any particular. See 21 U.S.C. § 352(a).
4. The FDCA prohibits the introduction, delivery for introduction, or causing the
introduction or delivery for introduction into interstate commerce of any drug that is

misbranded. See 21 U.S.C. § 331(a).
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5. Defendant P&R PACKING, LLC, was a company based in Spring, Texas within
the Southern District of Texas, whose business included the illegal manufacture, sale and
distribution of purported “dietary supplements” that were in fact misbranded drugs.
6. Defendant JASON PRADO, controlled and directed the business dealings of
defendant P&R PACKING, LLC, whose duties included brokering, manufacturing, sales
and distribution of misbranded drugs.
COUNT 1

i Paragraphs 1 through 6 of this Information are re-alleged and incorporated by
reference as though fully set forth herein.
8. On or about May 30, 2013, in the Western District of Tennessee, and elsewhere,
the defendant,

P&R PACKING, LLC
with intent to defraud and mislead, did cause to be introduced and delivered for
introduction into interstate commerce from Texas to Tennessee, and elsewhere, drugs,
namely the products “Formexx Black” and “Estrastain,” which when introduced and
delivered into interstate commerce were misbranded within the meaning of Title 21,
United States Code, Section 352(a) in that their labeling was false and misleading in a
particular, namely that the products were labeled as dietary supplements when in fact the
products contained non-dietary ingredients including Androstatrienedione (1,4,6-
Androstatriene-3, 17-dione or ADT) and Madol (Desoxymethyltestosterone), respectively.

All in violation of Title 21, United States Code, Sections 331(a) and 333(a)(2).
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COUNT 2

9. Paragraphs 1 through 6 of this Information are re-alleged and incorporated by
reference as though fully set forth herein.
10. Onor about May 30, 2013, in the Western District of Tennessee, and elsewhere,
the defendant,
JASON PRADO
did cause to be introduced and delivered for introduction into interstate commerce from
Texas to Tennessee, and elsewhere, drugs, namely the products “Formexx Black” and
“Estrastain,” which when introduced and delivered into interstate commerce were
misbranded within the meaning of Title 21, United States Code, Section 352(a) in that
their labeling was false and misleading in a particular, namely that the products were
labeled as dietary supplements when in fact the products contained non-dietary
ingredients including Androstatrienedione (1,4,6-Androstatriene-3, 17-dione or ADT) and
Madol (Desoxymethyltestosterone), respectively.
All in violation of Title 21, United States Code, Sections 331(a) and 333(a)(1).
FORFEITURE ALLEGATION
11. The United States Attorney re-alleges and incorporates by reference the
allegations set forth in paragraphs 1 through 8 and Count 1 of this Information for the
purpose of alleging forfeiture to the United States of America pursuant to Title 21, United
States Code, Section 334 and Title 28, United States Code, Section 2461(c).
Upon conviction of any offense in violation of 21 U.S.C. § 331, the defendant, P&R
PACKING, LLC, shall forfeit to the United States of America pursuant to Title 21, United

States Code, Section 334 and Title 28, United States Code, Section 2461(c), any
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quantities of the drugs “Formexx Black” and “Estrastain,” which were misbranded when
introduced into interstate commerce or while in interstate commerce, or while held for sale
(whether or not the first sale) after shipment in interstate commerce, or which were
introduced into interstate commerce in violation of Title 21, United States Code, Section
331.
12. If any of the property subject to forfeiture, as a result of any act or omission of the
defendant:

(a) cannot be located upon exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be divided without
difficulty; it is the intent of the United States, pursuant to Title 21, United States Code,
Section 853(p), incorporated by reference in Title 28, United States Code, Section
2461(c), to seek forfeiture of any other property of the az! oie up = , value of the
property subject to forfeiture, which is $600,000. E Mi a eT

All pursuant to Title 21, United States Code, ec ri vas and 853, and Title 28,

United States Code, Section 2461(c), and Rule 32.2 of the Federal Rules of Criminal

 

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UNITED STATES
Plaintiff,

vs.

P&R PACKING LLC., and

JASON PRADO,

Defendant.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

OF AMERICA,

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Cr. No.:

21 U.S.C. § 331(a)
21 U.S.C. § 333(a)(1)
21 U.S.C. § 333(a)(2)
21 U.S.C. § 334

21 U.S.C. § 853(p)
28 U.S.C. § 2461

NOTICE OF PENALTIES

COUNT 1

[nmt $500,000 fine; nmt 5 yrs. probation plus a
mandatory special assessment of $400, see 18

U.S.C. § 3013(a)]

COUNT 2

[nmt 1 yr. imprisonment; nmt 1 yr. supervised
release, nmt $200,000 fine plus a mandatory
special assessment of $25, see 18 U.S.C. §

3013(a)]
